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                     IN THE CIRCUIT COURT FOR THE NINTH JUDICIAL CIRCUIT
                             IN AND FOR OSCEOLA COUNTY, FLORIDA
                                        CIVIL DIVISION



         TIMOTHY BRANNON, an Individual,
                                                                       No.
                                              Plaintiff,



         CARGILL, INCORPORATED, a Delaware
         Corporation and JOHN DOE, an Individual and
         Agent of CARGILL,

                                              Defendants.




                             COMPLAINT AND DEMAND FOR JURY TRIAL


                Plaintiff, TIMOTHY BRANNON ("PLAINTIFF"), by and through the undersigned

        attorney, sues Defendants CARGILL, INCORPORATED ("CARGILL") and JOHN DOE

        ("MR. DOE") (together, "DEFENDANTS"), demands a trial by jury, and complains as follows:


                                        GENERAL ALLEGATIONS


                L      PLAINTIFF is an individual residing at 20891 Southeast 155th Street,

         Umatilla, FL 32784, in Lake County, Florida.

                2.     CARGILL is a corporation organized and existing under the laws of the State of

         Delaware, having its registered office at CT Corporation System, 1200 S. Pine Island Road,

         Plantation, FL 33324, in Broward County, Florida, and having an office for the transaction of

        customary business at 1845 Ave A, Kissimmee, FL 34758, in Osceola County, Florida.



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         3.       MR. DOE is an individual believed to be residing in the State of Florida. The true

 name of MR. DOE is unknown to PLAINTIFF, who therefore sues such defendant by such

 fictitious name, and will amend this complaint to show his true name and capacity when

 ascertained. PLAINTIFF is informed and believes and thereon alleges that:

                  a.     MR. DOE is negligently responsible in some manner for the events and

                         happenings herein referred to, and thereby proximately caused injuries and

                         damages to PLAINTIFF as herein alleged; and

                  b.     MR. DOE was an agent of CARGILL and, in doing the things alleged in

                         this complaint, was acting in the scope of such agency and with the

                         permission and consent of CARGILL.

         4.       This is an action for damages in excess of $30,000.00 and is within the jurisdiction

 of this court.




                                    FACTUAL ALLEGATIONS
                                            -.t.:

         5.       On or about June 29, 2020, PLAINTIFF entered the premises known and described

 as Cargill Animal Nutrition, 1845 Ave A, Kissimmee, FL 34758 (the "PREMISES").

         6.       PLAINTIFF was a delivery driver and his entry onto the PREMISES at that date

 and time was occasioned by PLAINTIFF delivering rice meal to CARGILL.

         7.       At all times material to this litigation, CARGILL was in full possession and

 complete control of the PREMISES, in that CARGILL was the owner and only occupant of the

 PREMISES.

         8.       While a business invitee on CARGILL's property, PLAINTIFF was seriously and

 permanently injured as a direct result of CARGILL's negligence and lack of due care, in that




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 CARGILL kept a hazardous and defective, metal drain grate (the "DRAIN GRATE") on their

 grounds that posed serious risk of injury to invitees. More specifically, PLAINTIFF suffered

 severe injury to legs, back, torso, and arms as a result of falling through the DRAIN GRATE as it

 was installed on CARGILL's property. The DRAIN GRATE was obscured from view and was

 designed in such a way that an adult male's entire leg could slip through the grate, shearing the

 person's leg in the process and causing severe trauma to the individual. See pictures attached as

 Composite Exhibit "A" which depict the defect as it appeared.



            COUNT I — PREMISES LIABILITY/NEGLIGENCE AGAINST CARGILL


            9.    PLAINTIFF realleges paragraphs 1 through 8 above as if reinstated verbatim

  herein.

            10.   PLAINTIFF's injuries and consequent damages were the direct and proximate

 result of CARGILL's negligent maintenacice of the PREMISES so as to create a hidden danger by

  installing the defective and dangerous DRAIN GRATE on the PREMISES that presented risk of

 invitees falling through, and by the arrangement of such DRAIN GRATE on the PREMISES so

 as to obscure the DRAIN GRATE from the view of a person observing the PREMISES in a normal

 manner; and negligent failure to warn PLAINTIFF of a hidden danger of which CARGILL knew,

 or should have known, but which was hidden from PLAINTIFF.

            11.   As a further direct and proximate result of CARGILL's negligence and want of due

 and reasonable care, PLAINTIFF has incurred expenses, fees, and costs of medical care and

 attention to his injuries, including physician's fees; medications and medical supplies;

 hospitalization; transportation costs to and from various physician's offices and the hospital; and

 nursing services.



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           12.   As a further direct and proximate result of CARGILL's negligence and lack of due

 and reasonable care, PLAINTIFF has suffered great physical and mental pain, and will continue

 to suffer such pain for the indefinite future, for which PLAINTIFF should also be compensated by

 CARGILL.



                       COUNT II— NEGLIGENCE AGAINST MR. DOE


           13.   PLAINTIFF realleges paragraphs 1 through 8 above as if reinstated verbatim

 herein.

           14.   PLAINTIFF's injuries and consequent damages were the direct and proximate

 result of MR. DOE's negligent maintenance and/or management of the PREMISES so as to create

 a hidden danger by allowing the installation and continued use of the defective and dangerous

 DRAIN GRATE on the PREMISES that presented risk of invitees falling through, and by the

 arrangement of such DRAIN GRATE on the PREMISES so as to obscure the DRAIN GRATE

 from the view of a person observing the PREMISES in a normal manner; and negligent failure to

 warn PLAINTIFF of a hidden danger of which MR. DOE knew, or should have known, but which

 was hidden from PLAINTIFF.

           15.   As a further direct and proximate result of MR. DOE's negligence and want of due

 and reasonable care, PLAINTIFF has incurred expenses, fees, and costs of medical care and

 attention to his injuries, including physician's fees; medications and medical supplies;

 hospitalization; transportation costs to and from various physician's offices and the hospital; and

 nursing services.

           16.   As a further direct and proximate result of MR. DOE's negligence and lack of due

 and reasonable care, PLAINTIFF has suffered great physical and mental pain, and will continue



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 to suffer such pain for the indefinite future, for which PLAINTIFF should also be compensated by

 MR. DOE.



                                          JURY DEMAND


        WHEREFORE, PLAINTIFF demands a trial by jury and a judgment against

 DEFENDANTS for a sum within the jurisdictional limits of this Court, including but not limited

 to, damages, costs, prejudgment interest for any out-of-pocket expenses made by PLAINTIFF

 prior to entry of judgment, and any other relief this court deems appropriate against

 DEFENDANTS.



        E-filed and dated June 4, 2021.



                                                 MANGAL, PLLC
                                                 310 Almond St., #115
                                                 Clermont, Florida 34711
                                                 Phone: (352) 995-9945
                                                 Fax: (407) 232-6960


                                             By: /s/ Avnish K. Manual
                                                AVNISH K. MANGAL, ESQ.
                                                Fla. Bar No. 1004174
                                                Attorney for PLAINTIFF
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                          COMPOSITE EXHIBIT "A"




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                                                       IN THE COUNTY/CIRCUIT COURT OF
                                                       THE NINTH JUDICIAL CIRCUIT, IN
                                                       AND FOR ORANGE AND OSCEOLA
                                                       COUNTY, FLORIDA




        IN RE: CIVIL CASE MANAGEMENT
               PLAN AND ORDER




                          STANDING CASE MANAGEMENT PLAN/ORDER
                                      (General Track)

               PURSUANT TO In re: Comprehensive COVID-19 Emergency Measures for
        Florida Trial Courts, Fla. Admin. Order No. AOSC20-23 (Amendment 12) (April 13,
        2021), and Ninth Judicial Circuit Court Administrative Order No. 2021-04 (collectively
        the "Case Management Administrative Orders"), this case is before the Court for case
        management. Based on the case"type of the initial filing in this case, the Case
        Management Administrative Orders, and pursuant to Rule 2.545, Fla. R. Gen. Prac. &
        Jud. Admin., the Court hereby establishes a case management plan. It is hereby

              ORDERED that:

               1.      COMPLIANCE WITH THIS CASE MANAGEMENT PLAN/ORDER: The
        parties shall strictly comply with the terms of this Case Management Plan/Order, unless
        otherwise ordered by the Court. FAILURE TO COMPLY WITH ALL REQUIREMENTS
        OF THIS ORDER WILL RESULT IN THE IMPOSITION OF SANCTIONS. If the parties
        believe that an alternate plan is required or more appropriate, then the parties shall
        meet, confer and agree on a plan that complies with the time standards set forth in Rule
        2.250, Fla. R. Gen. Prac. & Jud. Admin. The parties may submit an agreed upon plan
        to the division judge for consideration;or set the matter for a case management
        conference.
                                          *
               2.     ADDITIONAL NINTH CIRCUIT AND DIVISION SPECIFIC GUIDELINES:
        All counsel and unrepresented parties,shall familiarize themselves and comply with the
        requirements of the following: (i) Amended Administrative Order Establishing the
        Ninth Judicial Circuit Court Circuit Civil Court Guidelines (AO 2012-03-01); (ii)
        Amended Administrative Order Establishing the Ninth Judicial Circuit Courtroom
        Decorum Policy (AO 2003-07-02) (iii) Amended Administrative Order Establishing
        the Ninth Judicial Circuit Court County Civil Court Guidelines, Orange County
        (A02017-04-01) and (iv) any divisionspecific guidelines that may be applicable.
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         3.     MODIFICATION OF THIS ORDER: The parties may not, individually or
 by agreement, alter or extend the deadlines in this Order, or waive any of the provisions
 of this Order. The provisions of this Order may be modified only upon motion/stipulation
 and Court order in accordance with applicable law.
                                      4   .

        4.     SERVICE OF THIS ORDER WITH INITIAL PROCESS: Pursuant to the
 Case Management Orders, the Plaintiff ,shall file a copy of this Order in the case. Any
 Party serving an initial pleading (complaint, third-party complaint, etc.) in this case shall
 serve a copy of this Order together with-initial service of process.

                    CASE MANAGEMENT PLAN — GENERAL TRACK
  Note: All dates are to be calculated from the date of filing of the initial complaint unless
                                      otherwise noted.
  Deadline for Service of Process:                                       120 days
  Deadline for Service of Process extended                150 days, failing same, all unserved
  if not accomplished within 120 days:                     defendants are dismissed without
                                                                         prejudice
  Deadline for Leave to Add Parties and                  Motions must be set for hearing and
  Amend Pleadings:             t
                                 ,   i , ..
                                         ,            heard within 90 days from service on the
                                                       last defendant, or deemed abandoned
                                                                        and denied
  Motions to Dismiss, Motions for More, -I:1          Must be set for hearing and heard within
  Definite Statement, Motions to Strik&4nd                      60 days from filing of the
  any objections to the pleadings:                    motion/objection, or deemed abandoned
                                           1            and denied. Non-movant shall timely
                                                      submit a proposed order in the event the
                                              ' 1.1   motion/objection is deemed abandoned
                                               •                        and denied
  Deadline for Completion of Fact and                                    450 days
  Expert Discovery:                                       (additional disclosure and discovery
                                                          deadlines will be established by the
                                                      Uniform Order Setting Pre-Trial and Trial
                                                                       in the case)
  Pre-trial Motions, including Dispositive            Must be filed no later than 15 days after
                                        .
  and Daubert Motions                  .,•              completion of discovery and heard no
                                  ,                      later than 7 days prior to the pre-trial
                                                      conference, or deemed abandoned and
                                  . .                                     denied
  Mediation/Alternative Dispute Resolution             Within 30 days after completion of the
                                                       depositions of all parties, counsel shall
                                                       meet and confer regarding whether an
                                                       early mediation would be productive to
                                                      resolution of certain issues or the entire
                                                       case. A final mediation shall occur no
                                                      later than 30 days after completion of all
                                                                         discovery
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   Approximate Pre-Trial Conference:                              17 months
                                                     'Actual Date to be set by Trial Order
   Approximate Trial Date:                                         18 months
                                       .              Actual date to be set by Trial Order

  5. NOTICES FOR TRIAL: Within teri.(10) days of the case being at issue as defined
     by Rule 1.440, Fla. R. Civ. P., the Plaintiff shall confer with opposing counsel/party
     regarding the anticipated length of trial and file a Notice for Trial. The Plaintiff shall
     forward a copy of the Notice for Trial to the Judicial Assistant at the Division email
     address noted on the Ninth Circuit website.

  6. DISCOVERY: All counsel and unrepresented parties shall familiarize themselves
     with the current edition of the Florida Handbook on Civil Discovery Practice and seek
     to resolve discovery issues without court intervention whenever possible.

  7. SETTLEMENT: The case will not be removed from the docket until all documents
     necessary for closure of the case are filed with the Clerk and notification has been
     provided to the judicial assistant. A notice of settlement is not sufficient to remove
     the case from the trial docket.

     DONE AND ORDERED in Orange/Osceola County, Florida.




  If you are a person with a disability who needs any accommodation in
  order to participate in this proceeding, you are entitled, at no cost to
  you, to the provision of certain assistance. Please contact the ADA
  Coordinator in your county at least 7 days before your scheduled court
  appearance, or immediately upon receiving this notification if the time
  before the scheduled appearance is less than 7 days. If you are hearing
  or voice impaired, call 711.

  ORANGE COUNTY: Human Resources, Orange County Courthouse,
  425 N. Orange Avenue, Suite 510, Orlando, Florida, (407) 836-2303

  OSCEOLA COUNTY: Court Administration, Osceola County
  Courthouse, 2 Courthouse Square, Suite 6300, Kissimmee, Florida,
  (407) 742-2417

  REV 04/29/2021
